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 1 ROBERT S. BREWER, JR.
   United States Attorney
 2 NELSON F. CANDELARIO
   Assistant United States Attorney
 3 California State Bar No. 330402
   United States Attorney’s Office
 4 880 Front Street, Room 6293
   San Diego, California 92101
 5 Telephone: (619) 546-9613
   E-mail: ncandelario@usa.doj.gov
 6

 7 Attorneys for Plaintiff
   UNITED STATES OF AMERICA
 8

 9                       UNITED STATES DISTRICT COURT
10                      SOUTHERN DISTRICT OF CALIFORNIA
11   UNITED STATES OF AMERICA,              Case No. 20-MJ-4606-AHG
12             Plaintiff,
13        v.                                NOTICE OF APPEARANCE
14   AARON DAVID FARRELL,
15             Defendant.
16

17       TO THE CLERK OF COURT AND ALL PARTIES OF RECORD
18       I, Nelson F. Candelario, the undersigned attorney, enter my
19 appearance as lead counsel for the United States in the above-

20 captioned case.     I certify that I am admitted to practice in this
21 court or authorized to practice under CivLR 83.3.c.3-4.

22       The following Government attorneys (who are admitted to practice
23 in this court or authorized to practice under CivLR 83.3.c.3-4) are

24 also associated with this case, should be listed as lead counsel for

25 CM/ECF purposes, and should receive all Notices of Electronic Filings

26 relating to activity in this case:

27             Name
28             None.
     Case 3:20-mj-04606-AHG Document 7 Filed 10/26/20 PageID.10 Page 2 of 2




 1      Effective this date, the following attorneys are no longer

 2 associated with this case and should not receive any further Notices

 3 of Electronic Filings relating to activity in this case (if the

 4 generic “U.S. Attorney CR” is still listed as active in this case in

 5 CM/ECF, please terminate this association):

 6            Name

 7            None.

 8      Please feel free to call me if you have any questions about this

 9 notice.
10      DATED: October 26, 2020.

11                                   Respectfully submitted,

12                                   ROBERT S. BREWER, JR.
                                     United States Attorney
13

14                                   s/Nelson F. Candelario
                                     NELSON F. CANDELARIO
15                                   Assistant United States Attorney

16                                   Attorneys for Plaintiff
                                     United States of America
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